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            Case 3:20-cr-00071-VAB Document 48 Filed 05/20/20 PageStates
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                                                              District of Connecticut
                                                                         FILED AT       NEW HAVEN
                             UNITED STATES DISTRICT COURT       1/IL.6
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                               DISTRICT OF CONNECTICUT     RobTn o~tfoora, Clerk
                                    Grand Jury N-19-1     B y - ~ ~ ~.           .,
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UNITED STATES OF AMERICA                                     cRIMINAL No.         ~:   ~o ct?-...:7 1 V,4 ~~-p;:_,'11~
                V.                                           VIOLATION:
                                                             18 U.S.C. § 2339B(a)(l)
AHMAD KHALIL ELSHAZL Y                                       (Providing Material Support and
                                                             Resources to Designated Foreign
                                                             Terrorist Organization)

                                          INDICTMENT

       The Grand Jury charges:

                                       COUNT ONE
   (Providing Material Support and Resources to Designated Foreign Terrorist Organization)

       1.       On or about September 4, 2018, through on or about December 15, 2019, in the

District of Connecticut and elsewhere, the defendant AHMAD KHALIL ELSHAZL Y knowingly

attempted to provide material support and resources, as that term is defined in Title 18, United

States Code, Section 2339A(b)(l), that is, personnel, namely himself, to the Islamic State oflraq

and al-Sham ("ISIS"), which at all relevant times was designated by the Secretary of State as a

foreign terrorist organization pursuant to Section 219 of the Immigration and Nationality Act,

knowing that ISIS was a designated foreign terrorist organization, and knowing that ISIS had

engaged in, and was engaging in, terrorist activity and terrorism, and the defendant AHMAD

KHALIL ELSHAZL Y was a United States citizen and the offense occurred in whole and in part

within the United States.

       In violation of Title 18, United States Code, Section 2339B(a)(l).

                                 FORFEITURE ALLEGATION

       2.       Upon conviction of the offense charged in Count One of this Indictment, the

defendant AHMAD KHALIL ELSHAZLY shall, pursuant to 18 U.S.C. § 981(a)(l)(C), 18 U.S.C.

§§ 981(a)(l)(G)(i)-(iv), and 28 U.S.C. § 2461(c), forfeit to the United States:
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              a.      All of his assets, foreign or domestic (18 U.S.C. §§ 981(a)(l)(G)(i) and
                      (iv) and 28 U.S.C. § 2461(c));\

              b.      All assets acquired or maintained by any person with the intent and for the
                      purpose of supporting, planning, conducting, or concealing the offense
                      charged in Count One of this Indictment (18 U.S.C. § 981(a)(l)(G)(ii) and
                      28 U.S.C. § 2461(c));

              c.      All assets derived from, involved in, or used or intended to be used to
                      commit the offense charged in Count One of the Indictment (18 U.S.C.
                      § 981(a)(l)(G)(iii) and 28 U.S.C. § 2461(c)); and
              d.      Any property, real or personal, which constitutes or is derived from
                      proceeds traceable to the offense charged in Count One of the Indictment
                      (18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c)).


       Such assets include, but are not limited to: (1) $500 in U.S. currency the defendant provided

to a person on December 14, 2019; and (2) items seized from the defendant on December 15, 2019,

including (a) $500 in U.S. currency; (b) three $100 Amazon gift cards; (c) Axon ZTE cellular

telephone, Model ZTE-b20176; (d) Blackberry DTEK60; (e) ASUS micro storage device (thumb

drive); and (f) Seagate 2000GB Hard Drive, SN-Z1E0KZ33.

       All in accordance with Title 18 U.S.C. § 981(a)(l)(G), 28 U.S.C. § 2461(c), 21 U.S.C. §

853, and Rule 32.2(a), Federal Rules of Criminal Procedure.




                                                            /s/
                                                     FOREPERSON

L ONARD C. BOYLE
FIRST ASSISTANT UNIT           STATES ATTORNEY

 b.
DOUGLAS P. MORABITO
ASSIST ANT UNITED STATES ATTORNEY


JUSTIN SHER
TRIAL ATTORNEY
UNITED STATES DEPARTMENT OF JUSTICE
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